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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  IP INNOVATION L.L.C. and
  TECHNOLOGY LICENSING CORP.,

  Plaintiffs,
                                                        Case No. 2:07-cv-447 (RRR)
  V.
                                                        Jury Trial Demanded

  RED HAT, INC. and
  NOVELL, INC.,

  Defendants.




       ORDER DENYING PLAINTIFFS’ MOTION FOR JUDGMENT AS A MATTER OF
       LAW ON INFRINGEMENT AND VALIDITY OR IN THE ALTERNATIVE FOR A
                                 NEW TRIAL

          IP Innovation L.L.C. and Technology Licensing Corporation (collectively, “Plaintiffs”)

  move for judgment as a matter of law on infringement and validity, or in the alternative, for a

  new trial.    (Document No. 248.) Because substantial evidence supports the jury verdict of

  noninfringement and invalidity, this court DENIES the motion.

                                                 I

          Plaintiffs own by assignment U.S. Patent Nos. 5,072,412 (“412 patent”), 5,394,521

  (“521 patent”), and 5,533,183 (“183 patent”).       These related patents, based on the same

  specification, each carry the title “User Interface with Multiple Workspaces for Sharing Display

  System Objects.” All patents name three inventors: Dr. D. Austin Henderson, Jr.; Dr. Stuart K.

  Card; and Mr. John T. Maxwell, III.
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          The patents relate to a graphical user interface that spans across multiple workspaces. A

  “workspace” is a “display system entity that includes a collection of display objects together with

  spatial display relations between them.” Document No. 87 at 23 (“Claim Construction Order”);

  see also ‘412 patent col.8 11.46-49. A “display object” is a “visually distinguishable display

  feature or set of features which is coherent, in the sense of sticking together in a display.” Claim

  Construction Order at 23; see also ‘412 patent col.7 11.25-27. Pointers, icons, windows, and

  menus are examples of display objects. ‘412 patent col.1 11.38-63, col.7 11.28-39. A “display

  system object provides the visible features of each of the display objects.” Id. col.8 11.21-28. A

  display system object can be linked to multiple display objects that appear in different

  workspaces and “receive[} and respond[J to user signals relating to those display objects.” Id.;

  see also Id. col.5 11.10-13.

          Figures 1 A and 1 B illustrate “a number of general features of the present invention,

  including switching from the display of one workspace to another.” Id. col.9 11.36-38.

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                        FIG. 1A                                      FIG. 18
  Id. figs. 1A, lB. The first workspace (10) has a window for a text editing application (12), a

  window for a graphics application (14), and a door icon (16). Id. col.9 11.52-58. A user can click

  on the door icon to switch from the first workspace to the second workspace (20). Id. col.1O 11.2-



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  5. The second workspace has a window for a text editing application (22), a window for another

  graphics application (24), and a back door icon (26). Id. col.10 11.6-9, 14-17. The user can click

  on the back door icon to return to the first workspace. Id. col.1O 11.15-17.

          The same display system object calls a text editing application to provide windows (12)

  and (22). Id. col. 10 11.9-11. The workspaces display the windows at different locations and with

  different dimensions, as can be seen from the cutting off of the character “d” in window (22). Id.

  eol.10 11.11-14. However, “the state of the underlying display system object will be continuous.”

  Id. col.10 11.25-27. In other words, if the user edits the contents of window (12) and clicks on the

  door icon (16) to switch to the second workspace, the changes will be reflected in window (22).

  Id. col.10 11.23-25. Windows (12) and (22) “illustrate the phenomenon of object constancy,

  under which two successively displayed objects are perceived as the same object.” Id. col.1O

  11.30-32.

          Plaintiffs allege that Red Hat, Inc. and Novell, Inc. (collectively, “Defendants”) infringe:

  claims 1 and 21 of the ‘412 patent; claim 8 of the ‘521 patent; and claim 1 of the ‘183 patent.

  The claims cover a particular technique for switching between two workspaces. Claim I of the

  ‘412 patent is representative and recites:

          A system comprising:

          a display;

          first and second workspace data structures relating respectively to first and second
          workspaces that can be presented on the display;
                  each of the first and second workspaces including a respective set of
                  display objects;
                  each of the display objects being perceptible as a distinct, coherent set of
                  display features;
                  the display objects of each respective set being perceptible as having
                  spatial positions relative to each other when the respective workspace is
                  presented on the display;




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         display object means for generatingfirst and second display objects;
                the first workspace data structure being linked to the display object means
                 so that the first display object is in the respective set of display objects of
                the first workspace;
                the second workspace data structure being linked to the display object
                means so that the second display object is in the respective set of display
                 objects of the second workspace; and

         control means for accessing the first workspace data structure to cause the display
         to present the first workspace including the first display object;
                 the control means fUrther being for accessing the second workspace data
                 structure to cause the display to present the second workspace including
                 the second display object;
                 the display object means generating the first and second display objects so
                 that the second display object is perceptible as the same tool as the first
                 display object when the second workspace is presented after the first
                 workspace.

  Id. coL45 11.34-66 (emphases added).

         Plaintiffs accuse the following software products of infringement: Red Hat Enterprise

  Linux versions 4 and 5 (“RHEL”); Red Hat’s Fedora versions 7, 8, and 9; Novell SUSE Linux

  Enterprise versions 10, 10 SPI, and 10 SP2; and Novell openSUSE versions 10.2, 10.3, and 11.

  The accused products support multiple workspaces and allow users to switch among these

  workspaces.

                                                   II

         On September 9, 2007, Plaintiffs filed this action against Defendants alleging

  infringement of the ‘412, ‘521, and ‘183 patents.        Defendants answered the complaint on

  February 1, 2008, and asserted defenses and counterclaims of noninfringement and invalidity.

  On August 10, 2009, District Judge Leonard Davis issued a claim construction order.              On

  December 22, 2009, District Judge Davis transferred the case to Circuit Judge Randall R. Rader,

  sitting in the United States District Court for the Eastern District of Texas by designation. This

  court denied Defendant’s motion for summary judgment of invalidity for improper inventorship




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  under 35   U.S.C. §   116 after finding a genuine issue of material fact. This court held a jury trial

  from April 26, 2010, to April 30, 2010. On April 30, 2010, the jury returned a unanimous

  verdict in favor of Defendants and against Plaintiffs. The jury found that Defendants did not

  infringe any of the asserted claims and that the asserted claims were invalid as anticipated and

  due to improper inventorship. On May 14, 2010, Plaintiffs filed a motion for judgment as a

  matter of law (“JMOL”) on infringement and validity. Plaintiffs later renewed its JMOL motion

  and moved for a new trial. Defendants oppose the motion.

                                                    III

         JMOL is appropriate only if this court finds that “a reasonable jury would not have a

  legally sufficient evidentiary basis to fmd for the party on that issue.” Fed. R. Civ. P. 50(a)Ql).

  This court “draw[s] all reasonable inferences and resolve{s] all credibility determinations in the

  light most favorable to the nonmoving party.” Travelers Cas. & Sur. Co. of Am. v. Ernst &

  Young LLP, 542 F.3d 475, 481 (5th Cir. 2008) (internal quotation marks and citation omitted).

  This court should grant a JMOL motion “only if the facts and inferences point so strongly and

  overwhelmingly in favor of [the movant] that the [clourt believes that [a] reasonable [jury] could

  not arrive at a contrary verdict.” McBeth v. Carpenter, 565 F.3d 171, 176 (5th Cir. 2009)

  (citation omitted). “A jury verdict must stand unless there is a lack of substantial evidence, in

  the light most favorable to the successful party, to support the verdict.” Am. Home Assur. Co. v.

  United Space Alliance, LLC, 378 F.3d 482, 487 (5th Cir. 2004).

         This court grants a motion for a new trial only if “the verdict is against the great weight

  of the evidence, not merely against the preponderance of the evidence.” Dresser-Rand Co. v.

  VirtualAutomation, Inc., 361 F.3d 831, 838-39 (5th Cir. 2004).




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                                                   Iv
         To prove infringement, a patentee must show that each and every element of the claimed

  invention is present in the accused device by a preponderance of the evidence. Amgen Inc. v. F.

  Hoffmann-La Roche, Ltd., 580 F.3d 1340, 1374 (Fed. Cir. 2009). Plaintiffs contend that the jury

  erred by finding noninfringement because the accused products display infringing trash icons and

  infringing calendar windows across multiple workspaces.

         Substantial evidence supports the jury’s verdict that the trash icons do not infringe the

  asserted claims because they do not meet the “first and second display objects” limitation. A

  trash icon has a visually distinguishable display feature and thus is a display object. The accused

  products display a trash icon in each workspace. However, as Mr. Stephen Gray, Defendants’

  noninfringement expert, testified, a trash icon is “a single display object that shows in each of the

  workspaces.” (Gray, 4/29/10 AM 131:21-132:19; Gray, 4/29/10 PM 14:19-15:10.) A trash icon

  that appears in one workspace and a trash icon that appears in another workspace are not two

  separate display objects.   Instead, the same trash icon is visible across multiple workspaces.

  Therefore, the trash icons cannot infringe the asserted claims, which require the “first and second

  display objects.”

         Plaintiffs misconstrue this court’s previous description of the patented invention to argue

  that a single display object that appears across multiple workspaces can infringe the asserted

  claims. Multiple workspaces can have display objects that are generated by the same display

  system object and these display objects may be “perceptible as the same tool.” However, the

  asserted claims are clear that a display object shown in one workspace and a similarly-looking

  display object shown in another workspace must be two separate display objects for infringement

  to occur. Plaintiffs’ infringement expert, Dr. Myron Zimmerman, conceded that a single display




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  object cannot infringe the asserted claims. (Zimmerman, 4/27/10 PM, 26:16-19.) Accordingly,

  Plaintiffs have not shown that no reasonable jury could have found that the trash icons are not

  infringing.

         It is unclear as to why Plaintiffs believe that the calendar windows in the accused

  products meet each and every element of the asserted claims. In their JMOL motion, Plaintiffs

  merely summarize Dr. Zimmerman’s expert testimony and do not explain why the calendar

  windows infringe.   As Dr. Zimmerman testified, a user can open calendar windows in two

  different workspaces, and those calendar windows might be perceived to be the same tool.

  (Zimmerman, 4/27/10 PM 34:12-21.)        The user can carry over content from one calendar

  window to another under some circumstances. (Id.; Gray, 4/29/10 PM 15:11-17.) Also, unlike

  trash icons, two calendar windows in two different workspaces are separate display objects and

  thus meet the “first and second display objects” limitation. However, the asserted claims require

  more than the capabilities listed in Plaintiffs’ JMOL motion. Plaintiffs do not discuss any other

  claim elements in their briefs. Therefore, this court is not persuaded that JMOL of infringement

  is appropriate.

                                                 V

          “To prove inducement, the patentee must show direct infringement, and that the alleged

  infringer knowingly induced infringement and possessed specific intent to encourage another’s

  infringement.” 14i Ltd. v. Microsoft Corp., 598 F.3d 831, 851 (Fed. Cir. 2010). As noted,

  substantial evidence supports the jury’s verdict that the accused products do not infringe the

  asserted claims. Accordingly, it follows that substantial evidence supports the jury’s verdict of

  no infringement by inducement.




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                                                    VI

            A patent is invalid as anticipated if “the invention was.   .   .   in public use or on sale in this

  country, more than one year prior to the date of the application for patent in the United States.”

  35 U.S.C.    §   102(b). The anticipation inquiry proceeds on a claim-by-claim basis. Orion IF, LLC

  v. Hyundai Motor Am., 605 F.3d 967, 974 (Fed. Cir. 2010). “Anticipation requires a showing

  that each element of the claim at issue, properly construed, is found in a single prior art

  reference.” Verizon Servs. Corp. v. Cox Fibernet Va., Inc., 602 F.3d 1325, 1339 (Fed. Cir. 2010)

  (citation omitted). At trial, the jury returned a general verdict of anticipation. Plaintiffs claim

  that none of the three devices presented at trial anticipate the asserted claims.

            Substantial evidence supports the jury’s verdict that the “Chan system” anticipated the

  asserted claims. Patrick Chan, a master’s student at the University of Waterloo, created a system

  of virtual workspaces known as “The Room Model.” (Def. Exh. 535.) The Chan system used a

  collection of rooms, where each room had a group of icons including a door icon. ‘412 patent

  col.3 11.6 1-64. A user could click on the door icon to go to a different room. Id.; (Wilson

  4/29/10 PM 73:25-74:12.). Plaintiffs do not dispute in their IMOL motion that the Chan system

  meets each and every element of the asserted claims. Plaintiffs instead raise two procedural

  issues.

            First, Plaintiffs argue that the “Chan system” cannot anticipate the asserted claims

  because it was a “blending of two separate articles by different authors.” Dr. David Wilson,

  Defendants’ invalidity expert, relied on two separate references to describe the Chan system. He

  used a republication of Chan’s master’s thesis entitled “Learning Considerations in User

  Interface Design: The Room Model.” (Def. Exh. 535.) Dr. Wilson also used another paper

  entitled “Experience Designing the Waterloo Port User Interface” by Professor Michael A.




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  Malcolm, Chan’s supervisor at the University of Waterloo, and Professor Doug Dyment, one of

  Chan’s thesis readers. (Def. Exh. 601.) Dr. Wilson explained that the illustrated figures and

  technical details showed that the two papers described the same Chan system. (Wilson, 4/29/10

  PM 75:8-76:2.) Therefore, he used the information in both papers to recreate the Chan system.

  (Wilson, 4/29/10 PM 77:21-78:4.)

         “[A]nticipation must      be   found    in       a   single   reference,   device,   or process.”

  Studiengesellschaft Kohie, m.b.H v. Dart Indus., Inc., 726 F.2d 724, 726-27 (Fed. Cir. 1984).

  Dr. Wilson used a single device, the Chan system, to show anticipation. Dr. Wilson did not rely

  on the articles as separate anticipatory references. He only used the articles to understand how

  the Chan system functioned. This court sees no error in using multiple references to describe a

  single prior art system for the purpose of showing anticipation.

         Second, Plaintiffs argue that Defendants never proved that the Chan system existed prior

  to the section 102(b) bar date—March 25, 1986. However, papers that Defendants relied upon at

  trial separately and individually establish that the Chan system was in public use prior to March

  25, 1986. Chan’s thesis was published in July 1984, and his professors’ paper was published in

  1983. Chan’s thesis explains that his system was “used in a fourth year undergraduate course”

  and “approximately 100 students have been exposed to the system over the course of 8 months.”

  (Def. Exh. 535.) Therefore, the papers indicate that the Chan system existed and was in public

  use at least by 1984.    Accordingly, Defendants properly used the Chan system as a single

  anticipatory prior art system that was in use before the section 102(b) bar date.

                                                  VII
         Because this court finds that substantial evidence supports the jury’s verdict of

  noninfringement and invalidity, this court denies Plaintiffs JMOL motion on infringement and




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  validity. Also, because the jury verdict is not against the great weight of the evidence, this court

  denies Plaintiffs’ motion for a new trial.



         It is SO ORDERED.

         SIGNED this 13°~ day of October 2010.




                                                       RANDALL R. RAIDER
                                                       UNITED STATES CIRCUIT JUDGE
                                                       (sitting by designation)




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